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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )       Criminal No. 09-305
                                             )
OMAR GADSDEN,                                )
                                             )
                      Defendant.             )
                                             )


                                           OPINION

       Pending before the court is a pro se motion filed by Omar Gadsden (“Gadsden”) for

immediate release from the sentence of imprisonment he is currently serving at FCI-

Bennettsville (ECF No. 413). Gadsden seeks compassionate release for “extraordinary and

compelling reasons” pursuant to the First Step Act and 18 U.S.C. § 3582(c)(1)(A)(i), due to the

COVID-19 virus. The court-appointed attorney filed a notice that no counseled filing would be

forthcoming (ECF No. 416). The government filed an expedited response opposing the motion

on July 1, 2020 (ECF No. 418). Gadsden’s pro se motion is now ripe for disposition.



Factual Background

       Gadsden is now serving concurrent terms of imprisonment imposed by this court at Crim.

No. 09-305 and Crim. No. 13-65, which originated in the United States District Court for the

District of New Jersey and was transferred to this court with Gadsden’s consent. On November

3, 2012, Gadsden pleaded guilty to count 3 of the third superseding indictment at Crim. No. 09-

305, which charged him with conspiracy to retaliate against a witness, in violation of 18 U.S.C. §

1513(f). As described in the presentence investigation report, Gadsden was taken into custody in

November 2009 after a drive-by shooting. A search of the vehicle uncovered loaded firearms

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and two live hand grenades (ECF No. 344). On June 17, 2013, Gadsden pleaded guilty to count

1 at Crim. No. 13-65, which charged him with conspiracy to distribute heroin. Gadsden was

sentenced the same day to 210 months of imprisonment at Crim. No. 09-305 and 151 months at

Crim. No. 13-65, to concurrently run, followed by 3 years of supervised release at each case, to

concurrently run. Gadsden’s projected release date is October 1, 2024.



Legal Analysis

       1. Exhaustion of administrative remedies

       As an initial matter, the court must consider whether Gadsden’s motion is ripe for

consideration by the court. In United States v. Raia, No. 20-1033, 954 F.3d 594 (3d Cir. 2020),

the court of appeals held that district courts cannot consider requests for compassionate release

under the First Step Act until a prisoner has exhausted his administrative remedies.

       Gadsden represents that he satisfied his administrative remedies by making a written

request to the warden at FCI Bennettsville on May 14, 2020, to file a motion for compassionate

release on his behalf (ECF No. 413 at 3-4). Gadsden acknowledges that on May 18, 2020, the

warden denied his request in writing (ECF No. 413 at 2). The warden’s letter provided, in

relevant part: “If you are not satisfied with this response to your request, you may commence an

appeal of this decision via the administrative remedy process by submitting your concerns on the

appropriate form (BP-9) within 20 days of the receipt of this response.” Id. There is no evidence

that Gadsden commenced an appeal of the warden’s decision. Instead, on May 26, 2020, he filed

the pending motion for relief in this court.

       Gadsden argues that upon the warden’s denial of his request, he may file a motion for

compassionate release with the court on his own behalf. The government contends that Gadsden



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failed to demonstrate that he exhausted his administrative remedies because he did not appeal the

denial to the BOP Regional Director’s office and Office of General Counsel pursuant to 28

C.F.R. §§ 542.15 and 571.63. The government urges that Gadsden’s motion should be denied as

premature.

       In Raia, the court of appeals instructed that “strict compliance” with the exhaustion

require is of critical importance during the COVID-19 pandemic. Raia, 954 F.3d at 597. The

government is correct that Gadsden did not fully comply with the BOP’s administrative

remedies. Accordingly, his motion must be denied.

       The First Step Act provides, in relevant part, that the court may reduce the term of

imprisonment if it finds that extraordinary and compelling reasons exist, “upon motion of the

defendant after the defendant has fully exhausted all administrative rights to appeal a failure

of the Bureau of Prisons to bring a motion on the defendant's behalf or the lapse of 30 days from

the receipt of such a request by the warden of the defendant's facility, whichever is earlier. . . .”

18 U.S.C. § 3582(c)(1)(A)(i) (emphasis added).

       As explained United States v. Early, No. CR 19-92, 2020 WL 2572276 (W.D. Pa. May

21, 2020), courts “have interpreted the statute to mean that an inmate must fully exhaust his

administrative remedies unless his or her warden does not respond to the inmate’s request within

30 days.” Id. at *3 (collecting decisions). In other words, if the warden does not respond to the

inmate’s request, the inmate may file a motion with the court after 30 days have lapsed. On the

other hand, if the warden does respond by denying the inmate’s request, the inmate is obligated

to fully exhaust all the administrative procedures before filing a motion with the court. Id.

       In this case, it is undisputed that the warden did respond, in writing, to Gadsden. The

warden’s response on May 18, 2020, was four days after Gadsden presented his request on May



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14, 2020. The 30-day lapse provision in § 3582(c)(1)(A)(i), therefore, does not apply.

       The warden’s denial of an inmate’s request for compassionate release does not fully

exhaust the administrative process. There are two additional steps that must be completed:

       An inmate who is not satisfied with the Warden's response may submit an Appeal
       on the appropriate form (BP–10) to the appropriate Regional Director within 20
       calendar days of the date the Warden signed the response. An inmate who is not
       satisfied with the Regional Director's response may submit an Appeal on the
       appropriate form (BP–11) to the General Counsel within 30 calendar days of the
       date the Regional Director signed the response. When the inmate demonstrates a
       valid reason for delay, these time limits may be extended. Valid reasons for delay
       include those situations described in § 542.14(b) of this part. Appeal to the
       General Counsel is the final administrative appeal.

28 C.F.R. § 542.15(a); see also 28 C.F.R. § 571.63 (a denial by the General Counsel or Director,

Bureau of Prisons, constitutes a final administrative decision). Gadsden did not establish that he

submitted an appeal to the regional director; submitted an appeal to the general counsel; or

obtained a final administrative decision from the BOP. Accordingly, Gadsden did not fully

exhaust his administrative rights as required by § 3582(c)(1)(A)(i).

       In Raia, the Court of Appeals emphasized the BOP’s statutory role and extensive efforts

to control the spread of Covid-19, and held that the “exhaustion requirement takes on added –

and critical – importance.” Raia, 954 F.3d at 597. Gadsden is required to strictly comply with

the BOP’s administrative procedures before seeking relief from the court. The only exception to

full exhaustion, i.e., futility of the administrative process if the warden does not respond to a

request within 30 days, does not apply to Gadsden. In sum, Gadsden’s motion must be denied.



       2. § 3553(a) factors and extraordinary and compelling reasons

       The court observes that even if Gadsden did exhaust his administrative remedies, the

court would likely deny his request for release on the merits. The government maintains that



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Gadsden poses a serious danger to the community, if released, which outweighs any incremental

risk of contracting COVID-19 he faces if he remains in custody. Gadsden faces a difficult

burden. The court must first consider the § 3553(a) sentencing factors and Gadsden must

demonstrate that “extraordinary and compelling reasons” exist. U.S.S.G. §1B1.13. Guns and

drugs are bad combinations that pose serious dangers to the community and Gadsden has

demonstrated a history of violence. Gadsden’s original sentence was imposed after thorough

consideration and the determination that the sentence was “sufficient but no greater than

necessary” to satisfy the § 3553(a) factors. In addition, Gadsden’s motion did not articulate

“extraordinary and compelling” reasons for compassionate release, as defined in U.S.S.G.

§1B1.13, Application Note 1. He does not have a terminal illness. His medical condition

(umbilical hernia and diastasis recti, repaired, ECF No. 413 at 9) does not substantially diminish

his ability to provide self-care within a correctional environment. At age 42, he does not qualify

under the age provisions. He did not argue that his family circumstances warrant a sentence

reduction. The catchall “other reasons” in subsection (D) do not justify Gadsden’s release

because he expresses only a generalized fear of contracting COVID-19. In Raia, the court of

appeals cautioned that “the mere existence of COVID-19 in society and the possibility that it

may spread to a particular prison alone cannot independently justify compassionate release.” 954

F.3d at 597. It appears that the BOP is actively monitoring and testing inmates and removing

and quarantining those who show symptoms of COVID-19. In sum, on this record Gadsden’s

susceptibility to COVID-19 is not extraordinary and compelling.

         The court recognizes the potential for Gadsden's exposure to the COVID-19 virus at FCI-

Bennettsville.1 Unfortunately, that potential exists anywhere in the community. The court is



1
    As of July 8, 2020, there were 3 inmates and 3 staff with active cases of COVID-19 at FCI-
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sympathetic to his concerns about complications caused by COVID-19 and possible exposure to

affected individuals.   Speculation concerning possible future conditions, however, does not

constitute a "compelling reason" for release. In other words, his current arguments for release do

not outweigh the factors considered by the court in imposing his original sentence, most

particularly, the danger to the community posed by his release.



Conclusion

       In accordance with the foregoing, Gadsden’s motion for compassionate release (ECF No.

413) will be DENIED for the failure to exhaust administrative remedies.



       An appropriate order will be entered.




Dated: July 9, 2020.

                                               /s/ Joy Flowers Conti
                                               Joy Flowers Conti
                                               Senior United States District Judge




Bennettsville. https://www.bop.gov/coronavirus/ (last visited July 8, 2020).
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